        Case 3:13-cv-04211-L Document 27 Filed 09/19/14                                                                           Page 1 of 2 PageID 128


                                         IN THE UNITED STATES DISTRICT COURT	

                                         FOR THE NORTHERN DISTRICT OF TEXAS	

                                                   DALLAS DIVISION	

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!
PAUL TEANEY,	

	
 	
     	
      	
                        	
   	
         	
         	
             	
         	
   	
         	
        	

        Plaintiff	
 	
                        	
   	

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v.	
    	
           	
         	
          	
   	
         	
         	
             	
         Civil Action No. 3:13-cv-04211-L	

!
KENNETH & COMPANY	

HONEY DO SERVICES, LLC,	

d/b/a KENNETH & COMPANY,	

 	
  	
    	
                                                                    	
       	

          Defendant	
 	
 	
                                          	
                         	
   	
         	

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!
                     PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                                          !
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!
               Plaintiff PAUL TEANEY, through counsel, moves for summary judgment on all

issues in this case except damages.	


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               Respectfully submitted,	


	
            	
           	
          	
               	
         	
               ROSS LAW GROUP	


	
            	
           	
          	
               	
         	
               By:	

	
            	
           	
          	
               	
         	
               s/ Vijay Pattisapu	

	
            	
           	
          	
               	
         	
               Vijay Pattisapu	

	
            	
           	
          	
               	
         	
               Texas Bar No. 24083633	
                          	

	
            	
           	
          	
               	
         	
               5956 Sherry Lane	

	
            	
           	
          	
               	
         	
               Suite 1000, PMB 106	

	
            	
           	
          	
               	
         	
               Dallas, TX 75225	
    	

	
            	
           	
          	
               	
         	
               (214) 716-4597 Telephone	

	
            	
           	
          	
               	
         	
               (855) 867-4455 Facsimile	

	
            	
           	
          	
               	
         	
               vijay@rosslawgroup.com	

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               Counsel for Plaintiff	


Teaney v. Kenneth & Co.!
Plaintiff’s Motion for Partial Summary Judgment                                                                                                       1 of 2
      Case 3:13-cv-04211-L Document 27 Filed 09/19/14                             Page 2 of 2 PageID 129


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!
                                                  Certificate of Service	

!
	
    I certify that on September 19, 2014 I caused a copy of the foregoing document and
attached brief, exhibits, and proposed order to be sent by U.S. mail to the following:	

!
	
       	
       Kenneth & Company Honey Do Services, LLC	

	
       	
       1507 Westfield Lane	

	
       	
       Rockwall, Texas 75032	

!
	
       	
       Defendant	

!
	
       	
       	
       	
       	
       	
     s/ Vijay Pattisapu	

	
       	
       	
       	
       	
       	
     Vijay Pattisapu




Teaney v. Kenneth & Co.!
Plaintiff’s Motion for Partial Summary Judgment                                                       2 of 2
